                              UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                      AT KNOXVILLE

 UNITED STATES OF AMERICA,                    )
                                              )
                       Plaintiff,             )
                                              )       No. 3:08-CR-116
 V.                                           )
                                              )       (VARLAN/SHIRLEY)
 DEXTER MIMS and                              )
 CHRISTOPHER HUNTER,                          )
                                              )
                       Defendants.            )


                                MEMORANDUM AND ORDER

        All pretrial motions in this case have been referred to the undersigned pursuant to 28 U.S.C.

 § 636(b) for disposition or report and recommendation regarding disposition by the District Court

 as may be appropriate. This cause is before the Court on Defendant Mims’ Motion for Bill of

 Particulars [Doc. 29] and Defendant Hunters’ Motion for Disclosure and Specification of All

 Statements Which the Government Will Seek to Attribute to Defendant [Doc. 44], Motion for a Bill

 of Particulars [Doc. 46], and Motion to Sever Defendant [Doc. 48]. The parties came before the

 Court on October 15, 2008, and again on November 19, 2008, for motion hearings on the pending

 motions. Assistant United States Attorney Tracee Plowell appeared on behalf of the government

 at both hearings. Attorney Samuel K. Lee appeared on behalf of Defendant Mims. Attorney

 Jonathan D. Cooper appeared for Defendant Hunter.1 Both defendants were present at the October



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         Attorneys M. Christopher Coffey and Richard W. Clark, III, were also present at both
 hearings representing Defendants Fred Bennett and Lloyd Bonner respectively. Defendant
 Broderick McNair was present at the November 19 hearing without counsel. These defendants
 have no motions pending before the Court.

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 15 hearing and Defendant Hunter was present at the November 19 hearing. The parties presented

 their arguments to the Court, and the Court then took the pending motions under advisement.



                                      I. BILL OF PARTICULARS

                   Defendants Mims and Hunter request [Docs. 29 and 46] that the Court order the

 government to provide a bill of particulars listing all known but unindicted coconspirators.

 Defendant Mims also seeks a list of all the overt acts the government is alleging he committed in

 furtherance of the conspiracy. Defendant Hunter asks that the government particularize whether he

 conspired with the other named defendants, whether he participated in the conspiracy on any date

 other than March 28, 2007, and whether he conspired to distribute cocaine, crack cocaine, or both.

 The defendants contend that these particulars are necessary to protect against surprise at trial, for

 the preparation of their defenses, and to prevent a subsequent double jeopardy violation. The

 government responds [Docs. 37 and 53] that the Indictment is sufficient to protect the defendants’

 rights against double jeopardy and to inform them of the charges they face so that they can prepare

 their defenses.

                   Federal Rule of Criminal Procedure 7(f) states that

                   [t]he court may direct the government to file a bill of particulars. The
                   defendant may move for a bill of particulars before or within 10 days
                   after arraignment or at a later time if the court permits. The
                   government may amend a bill of particulars subject to such
                   conditions as justice requires.

 “A bill of particulars is meant to be used as a tool to minimize surprise and assist defendant in

 obtaining the information needed to prepare a defense and to preclude a second prosecution for the

 same crimes. It is not meant as a tool for the defense to obtain detailed disclosure of all evidence


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 held by the government before trial.” United States v. Salisbury, 983 F.2d 1369, 1375 (6th Cir.

 1993). The granting of a bill of particulars is within the court’s discretion. See id. (holding that the

 appellate court reviews the denial of a bill of particulars for an abuse of discretion). The level of

 detail in the indictment can be a basis for denying the motion for a bill of particulars. Id.

 Additionally, “a defendant is not entitled to a bill of particulars with respect to information which

 is available through other sources.” United States v. Paulino, 935 F.2d 739, 750 (6th Cir. 1991),

 superseded on other gnds by stat., United States v. Caseslorente, 220 F.3d 727 (6th Cir. 2000) (on

 sentencing issue).

         The single-count Indictment [Doc. 3] charges as follows:

                 The Grand Jury charges that beginning in or about approximately August
         2006 through April 2007, within the Eastern District of Tennessee, the defendants,
         DEXTER MIMS, also known as “DJ,” BRODERICK MCNAIR, FRED BENNETT,
         CHRISTOPHER HUNTER, also known as “Ace,” and LLOYD BONNER did
         combine, conspire, confederate and agree with other persons, to commit violations
         of 21 U.S.C. § 841(a)(1), that is, to knowingly, intentionally and without authority
         distribute and possess with intent to distribute 500 grams or more of a mixture and
         substance containing a detectable amount of cocaine hydrochloride and 50 grams or
         more of a mixture and substance containing cocaine base, also known as “crack,”
         Schedule II controlled substances.


                                   A. Unindicted Coconspirators

         The defendants contend that they need to know the names of the known, but unindicted

 coconspirators so that they can prepare their defenses and protect against future charges that run

 afoul of the Double Jeopardy Clause. At the October 15 hearing, counsel for Defendant Mims

 argued that he needs to understand the factual basis against his client–the time and place, what

 occurred, and who was involved–to build his defense and to protect against a double jeopardy

 violation. Defendant Hunter argues that the present indictment is unique in that it does not allege


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 that he conspired with the named codefendants but, instead, charges him with conspiring only with

 “other persons.” He maintains that the Rule 16 discovery provided to him by the government does

 not inform him of the identity of these other persons. At the November 19 hearing, counsel for

 Defendant Hunter argued that fundamental fairness required the government to inform him of the

 person or persons with whom he directly conspired. He asserted that the discovery reveals that his

 involvement occurs on two to three days out of the nine-month conspiracy.

        The government argues that the purpose of a bill of particulars is to clarify the indictment,

 yet the defendants are seeking to know the government’s evidence. It maintains that the defendants

 should be able to determine who was involved in the conspiracy from the discovery provided to

 them. With regard to Defendant Mims, the government stated at the October 15 hearing that Mims

 is alleged to have conspired with the named defendants, with anyone with whom he had a telephone

 conversation that was captured on the wiretaps, and with those persons with whom he was observed

 during surveillance by law enforcement. With regard to Defendant Hunter, the government

 contended at the November 19 hearing that he conspired with all named defendants as well as with

 other persons. AUSA Plowell stated that she would answer Defendant Hunter’s defense counsel’s

 specific inquiries regarding the identity of unindicted coconspirators in a private meeting but that

 the government’s official position remained that the indictment was sufficient to inform the

 defendant of the charges and that a bill of particulars was not the appropriate vehicle for the

 defendant to gain the information he requested.

        The Supreme Court has recognized that “it is not uncommon for the Government to be

 required to disclose the names of some potential witnesses in a bill of particulars, where this

 information is necessary or useful in the defendant’s preparation for trial.” Will v. United States,


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 389 U.S. 90, 99 (1967). The Sixth Circuit has adopted a much more restrictive view and held that

 the government is not required to furnish the names of co-conspirators or other persons present when

 the defendant allegedly participated in the conspiracy. United States v. Rey, 923 F.2d 1217, 1222

 (6th Cir. 1991); see also United States v. Ferguson, 460 F. Supp. 1, 5 (D.C. Tenn. 1977) (noting the

 departure of that court and recent case law from the Supreme Court’s liberal construction in Will).

 In this respect,

                    [a] defendant may be indicted and convicted despite the names of his
                    co-conspirators remaining unknown, as long as the government
                    presents evidence to establish an agreement between two or more
                    persons, a prerequisite to obtaining a conspiracy conviction. As long
                    as the indictment is valid, contains the elements of the offense, and
                    gives notice to the defendant of the charges against him, it is not
                    essential that a conspirator know all other conspirators. “It is the
                    grand jury’s statement of the ‘existence of the conspiracy agreement
                    rather than the identity of those who agree’ which places the
                    defendant on notice of the charge he must be prepared to meet.”


 Rey, 923 F.2d at 1222 (citations omitted) (quoting United States v. Piccolo, 723 F.2d 1234, 1239

 (6th Cir. 1983), cert. denied, 466 U.S. 970 (1984) (quoting United States v. Davis, 679 F.2d 845,

 851 (11th Cir.1982))). Thus, the government is not required to reveal the names of unindicted co-

 conspirators. United States v. Crayton, 357 F.3d 560, 568 (6th Cir. 2004).

         The Court is mindful of the defendants’ concerns about potential surprise at trial and

 problems in raising a double jeopardy claim at some future date. Nevertheless, the Court notes that

 the present conspiracy is alleged to have spanned an eight-month time frame. The discovery,

 although apparently voluminous, contains telephone conversations between the defendants and other

 persons. The dates of these conversations as well as the matters discussed should provide the

 defendants with some idea of those persons alleged to be involved in the instant offense. Indeed,


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 the Court notes that presumably through his review of discovery, counsel for Defendant Hunter was

 able to narrow the defendant’s alleged involvement to a single twenty-four-hour period. Finally, and

 perhaps most importantly, the government narrowed the universe of potential coconspirators at the

 October 15 and November 19 hearings to the named codefendants, persons with whom the

 defendants spoke in the wiretapped telephone conversations, and persons observed during

 surveillance. This disclosure by the government also satisfies Defendant Hunter’s request for a bill

 of particulars regarding whether he is alleged to have conspired with the other named codefendants.

 Additionally, the government expressed its willingness to confirm the specific identities of

 unindicted coconspirators in private meetings with defense counsel. Accordingly, the Court finds

 that as a practical matter, the defendants will not be surprised at trial or be exposed to double

 jeopardy violations in the absence of a bill of particulars stating the names of the unindicted

 coconspirators.

        Defendant Mims’ and Defendant Hunter’s request for a bill of particulars listing the

 unindicted coconspirators is DENIED. Defendant Hunter’s request for a bill of particulars stating

 whether he is alleged to have conspired with the named codefendants is DENIED as moot.



                                            B. Overt Acts

        Defendant Mims asks the Court to order the government to particularize the overt acts the

 government alleges he committed in furtherance of the conspiracy. It is well-settled that “a

 defendant is not entitled to discover all the overt acts that might be proven at trial.” Salisbury, 983

 F.2d at 1375. Accordingly, the Court finds that no bill of particulars is warranted for overt acts, and

 this request is DENIED.


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                                      C. Date of Participation

        Defendant Hunter requests that the government provide particulars on whether he is alleged

 to have participated in the conspiracy on any date other than March 28, 2007. The Sixth Circuit has

 approved the provision of the dates that a defendant is alleged to have conspired. See e.g., United

 States v. Rey, 932 F.2d 1217, 1222 (6th Cir. 1991) (observing that the defendant knew the relevant

 dates in holding that he was not entitled to know the names of co-conspirators); United States v.

 Fears, 450 F. Supp. 249, 251 (E.D. Tenn. 1978) (directing, without further analysis, the government

 to file a bill of particulars giving the date and approximate hour the defendant allegedly made the

 telephone call charged in the indictment). On the other hand, the failure to provide the precise date

 that a defendant joined a conspiracy when the indictment alleged it lasted from “early 1987 to

 November 17, 1987,” was not error because “the indictment was not so vague that [the defendant]

 could not discern the nature of the charges pending against him and the time frame in which the

 alleged acts occurred, or that the indictment did not provide him with adequate information to

 prepare a defense.” United States v. Hayes, No. 88-5967, 1989 WL 105938, at * 3 (6th Cir. Sept.

 14, 1989), cert. denied, 493 U.S. 1030 (1990). In the present case, the conspiracy is confined to an

 eight-month period from August 2006 to April 2007. In any event, the government disclosed at the

 November 19 hearing that the defendant participated on March 27 to 28, 2007. Accordingly, the

 Court finds that the Defendant Hunter’s request is DENIED as moot with regard to the date of his

 participation.



                                          D. Type of Drug

        Finally, Defendant Hunter requests that the government particularize whether he allegedly


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 conspired to distribute cocaine, crack cocaine, or both. The government responds that the defendant

 is charged with a conspiracy involving both and that it is not required to particularize the exact

 method by which a defendant committed a crime.

        In the present case, the indictment specifies that the conspiracy involves the distribution of

 both cocaine hydrochloride and crack cocaine. Moreover, the government has informed Defendant

 Hunter that it will seek to prove he participated in the conspiracy on March 27 and 28, 2007. The

 Court finds that requiring further particularization of the form of cocaine would essentially be

 requiring the government to disclose its evidence rather than to clarify the charges. See Salisbury,

 983 F.2d at 1375 (holding that a bill of particulars is not a vehicle for the defendant to learn the

 government’s evidence before trial). Accordingly, no additional particularization is necessary on

 this point, and the request is DENIED.

        For the reasons set forth above, the defendants’ motions for bills of particulars [Docs. 29 and

 46] are DENIED in part and DENIED as moot in part as specified above.



                                          II. SEVERANCE

                Defendant Hunter contends [Doc. 48] that he was improperly joined to the other

 codefendants in this case pursuant to Fed. R. Crim. P. 8(b). He argues that both the plain language

 of the indictment and discovery show that he did not participate in the same act or transaction or

 series of acts or transactions as his codefendants. The government responds [Doc. 54] that

 Defendant Hunter’s denial that he participated in the same acts or series of acts as the other

 defendants is not a grounds for severance but merely a defense to be raised at trial.

        Rule 8(b) of the Federal Rules of Criminal Procedure governs the joinder of defendants:


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                 The indictment or information may charge 2 or more defendants if
                 they are alleged to have participated in the same act or transaction, or
                 in the same series of acts or transactions, constituting an offense or
                 offenses. The defendants may be charged in one or more counts
                 together or separately. All defendants need not be charged in each
                 count.

 As a general rule, federal law favors joint trials for those defendants indicted together. Zafiro v.

 United States, 506 U.S. 534, 539 (1993). When defendants are indicted together, “there is almost

 always common evidence against the joined defendants that allows for the economy of a single trial”

 and supports joinder. United States v. Phibbs, 999 F.2d 1053, 1067 (6th Cir. 1993); see United

 States v. Kincaide, 145 F.3d 771, 781 (6th Cir. 1998). On the other hand, defendants jointly tried

 for offenses in no way connected are “‘prejudiced by that very fact,’” and such circumstance leaves

 the court with no discretion to deny a severance. United States v. Reynolds, 489 F.2d 4, 6 (6th Cir.

 1973) (quoting Ingram v. United States, 272 F.2d 567, 570 (4th Cir. 1959)).

         The court notes at the outset that, generally, the propriety of joinder is determined by the

 allegations on the face of the charging instrument. See United States v. Chavis, 296 F.3d 450, 456,

 458 (6th Cir. 2002) (also determining that a motion to sever based on Rule 8 does not have to be

 renewed at trial because it does not depend upon the evidence at trial); United States v. Frost, 125

 F.3d 346, 389 (6th Cir. 1997), cert. denied, 525 U.S. 810 (1998). In the present case, the defendant

 argues that the plain language of the single-count indictment argues against joinder because the

 defendants are not alleged to have conspired with each other but only with other unnamed persons.

 The government maintains that the indictment charges all of the named defendants with participating

 in the same series of acts or transactions constituting an offense, specifically, conspiracy to distribute

 and possess with intent to distribute controlled substances. At the November 19 hearing, AUSA

 Plowell stated that the instant conspiracy was a “wheel” conspiracy, with each of the defendants

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representing a different spoke all interacting with the same central hub. Defense Counsel maintained

that in this case, the wheel lacks a rim connecting all the codefendants because there is no evidence

that the defendants knew about each other.

       “Generally, a conspiracy charge will facilitate the establishment of the necessary common

scheme or plan” for joinder of defendants under Rule 8(b). United States v. Carrozza, 728 F. Supp.

266, 270 (S.D.N.Y. 1990) (observing that where additional counts other than the conspiracy are

alleged, the government must demonstrate that these other counts are part of a common plan), aff’d

956 F.2d 1160 (2nd Cir. 1992). In proving wheel or “chain” conspiracies, “it is enough to show that

each member of the conspiracy realized that he was participating in a joint venture, even if he did

not know the identities of every other member, or was not involved in all the activities in furtherance

of the conspiracy.” United States v. Martinez, 430 F.3d 317, 332-33 (6th Cir. 2005). “[T]he essence

of the crime of conspiracy is agreement; and . . . in order to prove a single conspiracy the

government must show that each alleged member agreed to participate in what he knew to be a

collective venture directed toward a common goal.” United States v. Paulino, 935 F.2d 739, 748

(6th Cir.), cert. denied, 502 U.S. 914 (1991), superseded on other gnds by stat., United States v.

Caseslorente, 220 F.3d 727 (6th Cir. 2000) (on sentencing issue). In proving that a single

conspiracy, rather than multiple unrelated conspiracies, exists, the government does not have to

show that an individual conspirator participated in every crime or phase of the conspiracy, as long

as “there is assent to contribute to a common enterprise.” United States v. Hughes, 895 F.2d 1135,

1140 (6th Cir. 1990) (citations omitted). “It is often possible, especially with drug conspiracies, to

divide a single conspiracy into sub-agreements. This does not, however, mean that more than one

conspiracy exists. The key is to determine whether the different sub-groups are acting in furtherance


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of one overarching plan.” United States v. Ghazaleh, 58 F.3d 240, 245 (6th Cir. 1995) (citations

omitted) (holding the fact that the defendant had two suppliers did not defeat the finding of a single

conspiracy).

       The present indictment alleges that the named defendants conspired with other unnamed

persons to distribute cocaine and crack. The defendant interprets this language to mean that the

named defendants are not alleged to have conspired with each other. Even taking this interpretation

as true, this language does not preclude the named defendants’ participation in a joint venture or a

common goal. Accordingly, the indictment on its face does not reveal that Defendant Hunter is

improperly joined. The government asserts that the defendant’s strict reading of the indictment is

overly “literal” and that the named defendants did, in fact, conspire with each other as well as other

persons. Regardless, the Court finds that the indictment alleges an agreement on the part of all of

the named defendants to distribute cocaine and crack. As such, all of the named defendants are

participating in the same series of acts or transactions as required for joinder under Rule 8(b).

Accordingly, the defendant’s motion [Doc. 48] to be severed due to improper joinder is DENIED.



                           III. DISCLOSURE OF STATEMENTS

       Defendant Hunter asks [Doc. 44] the Court to order pursuant to Fed. R. Crim. P. 16(a)(1) the

government to disclose all written, recorded, or oral statements, by anyone, which the government

will seek to attribute to him. The government states [Doc. 55] that it intends to use in its case-in-

chief the statements by the defendant that were intercepted pursuant to the wiretap. At the

November 19 hearing, the government again stated that it would use those statements by the

defendant captured on the wiretap on March 27 and 28, 2007. Defense counsel acknowledged that


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this disclosure rendered his motion moot. Accordingly, the Court finds that Defendant Hunter’s

Motion for Disclosure and Specification of All Statements Which the Government Will Seek to

Attribute to Defendant [Doc. 44] is DENIED as moot.



                                     IV. CONCLUSION

       Accordingly, it is ordered:

              (1) Defendant Mims’ Motion for a Bill of Particulars [Doc. 29] is
              DENIED;

              (2) Defendant Hunter’s Motion for a Bill of Particulars [Doc. 46] is
              DENIED in part and DENIED as moot in part as set forth above;

              (3) Defendant Hunter’s Motion to Sever Defendant [Doc. 48] is
              DENIED; and

              (4) Defendant Hunter’s Motion for Disclosure and Specification of
              All Statements Which the Government Will Seek to Attribute to
              Defendant [Doc. 44] is DENIED as moot.

       IT IS SO ORDERED.

                                                   ENTER:


                                                     s/ C. Clifford Shirley, Jr.
                                                   United States Magistrate Judge




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